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  8                       UNITED STATES DISTRICT COURT
  9       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 UNITED STATES OF AMERICA,                 Case No. 2:15-cv-5903-DDP-JEM
 12              Plaintiff,                   [PROPOSED] ORDER SETTING
 13                                           ALTERNATIVE TIMELINES FOR
          v.
                                              COMPLIANCE WITH
 14
      COUNTY OF LOS ANGELES, et al.           PROVISIONS 63, 64, AND 80 OF
 15                                           THE SETTLEMENT AGREEMENT
                 Defendants.
 16
                                              Courtroom 9C
 17                                           Honorable Dean D. Pregerson
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  1        Having reviewed the Proposed Alternative Timelines to Come into
  2 Compliance With Provisions 63, 64, and 80 of the Settlement Agreement of the
  3 County of Los Angeles and the Los Angeles County Sheriff (together,
  4 “Defendants”), filed on February 17, 2023, and good cause appearing,
  5        IT IS HEREBY ORDERED that the following alternative timelines for
  6 Defendants’ compliance with Paragraphs 63, 64, and 80 shall be set:
  7        Alternative Benchmarks and Timeline for Provision 63
  8       *      By the end of the second quarter of 2023, at least 50% of incarcerated
    individuals must wait no more than seven days in mental health housing intake areas
  9 before transferring to permanent mental health housing.
 10
          *      By the end of the third quarter of 2023, at least 55% of incarcerated
 11 individuals must  wait no more than seven days in mental health housing intake areas
    before transferring to permanent mental health housing.
 12
          *      By the end of the fourth quarter of 2023, at least 60% of incarcerated
 13 individuals must wait no more than seven days in mental health housing intake areas
 14 before transferring to permanent mental health housing.
 15       *      By the end of the first quarter of 2024, at least 65% of incarcerated
    individuals must wait no more than seven days in mental health housing intake areas
 16 before transferring to permanent mental health housing.
 17
          *      By the end of the second quarter of 2024, at least 70% of incarcerated
 18 individuals must  wait no more than seven days in mental health housing intake areas
    before transferring to permanent mental health housing.
 19
          *      By the end of the third quarter of 2024, at least 75% of incarcerated
 20 individuals must wait no more than seven days in mental health housing intake areas
 21 before transferring to permanent mental health housing.
 22       *      By the end of the fourth quarter of 2024, at least 80% of incarcerated
    individuals must wait no more than seven days in mental health housing intake areas
 23 before transferring to permanent mental health housing.
 24
          *      By the end of the first quarter of 2025, at least 85% of incarcerated
 25 individuals must  wait no more than seven days in mental health housing intake areas
    before transferring to permanent mental health housing.
 26
          *      By the end of the second quarter of 2025, at least 90% of incarcerated
 27 individuals must wait no more than seven days in mental health housing intake areas
 28 before transferring to permanent mental health housing.

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  1        Alternative Benchmarks and Timeline for Provision 64
  2        *     By the end of the second quarter of 2023, the difference between the
    total number of P4 inmates and those receiving inpatient care must be 120
  3 individuals.
  4
           *     By the end of the third quarter of 2023, the difference between the total
  5 number   of P4 inmates and those receiving inpatient care must be 100 individuals.
  6        *     By the end of the fourth quarter of 2023, the difference between the
    total number of P4 inmates and those receiving inpatient care must be 80
  7 individuals.
  8
           *     By the end of the first quarter of 2024, the difference between the total
  9 number of P4 inmates and those receiving inpatient care must be 70 individuals.
 10        *     By the end of the second quarter of 2024, the difference between the
 11 total number of P4 inmates and those receiving inpatient care must be 60
    individuals.
 12
           *     By the end of the third quarter of 2024, the difference between the total
 13 number of P4 inmates and those receiving inpatient care must be 40 individuals.
 14        *      By the end of the fourth quarter of 2024, the difference between the
 15 total number of P4 inmates and those receiving inpatient care must be 20
    individuals.
 16
           *      By the end of the first quarter of 2025, the difference between the total
 17 number of P4 inmates and those receiving inpatient care must be 10 individuals.
 18
           *      By the end of the second quarter of 2025, the different between the
 19 total number  of P4 inmates and those receiving inpatient care must be no greater
    than five individuals, and none of those individuals should wait longer than 24 hours
 20 for inpatient placement.
 21        Alternative Benchmarks and Timeline for Provision 80
 22       *      By the end of the second quarter of 2023, 80% of HOH individuals will
 23 be offered a minimum   of 10 hours of unstructured out-of-cell time per week, and
    40% a minimum of 4 hours of structured out-of-cell time per week, with at least 2
 24 such hours consisting of group programing.
 25       *      By the end of the third quarter of 2023, 85% of HOH individuals will
    be offered a minimum of ten hours of unstructured out-of-cell time per week, and
 26 45% a minimum of 4.5 hours of structured out-of-cell time per week with at least
 27 2.25 hours consisting of group programming.
 28        *      By the end of the fourth quarter of 2023, 90% of HOH inmates will be

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  1 offered a minimum of ten hours of unstructured out-of-cell time per week, and 50%
    a minimum of 5 hours of structured out-of-cell time per week with at least 2.5 such
  2 hours consisting of group programming.
  3
          *      By the end of the first quarter of 2024, 95% of HOH individuals will be
  4 offered a minimum   of ten hours of unstructured out-of-cell time per week, and 55%
    a minimum of 5.5 hours of structured out-of-cell time per week with at least 2.75
  5 such hours consisting of group programming.
  6        *     By the end of the second quarter of 2024, 100% of HOH individuals
  7 will be offered a minimum of ten hours of unstructured out-of-cell time per week,
    and 60% a minimum of 6 hours of structured out-of-cell time per week with at least
  8 3 such hours consisting of group programming.
  9       *      By the end of the third quarter of 2024, 100% of HOH individuals will
 10 be offered a minimum  of ten hours of unstructured out-of-cell time per week, and
    65% a minimum of 6.5 hours of structured out-of-cell time per week with at least
 11 3.25 such hours consisting of group programming.
 12        *     By the end of the fourth quarter of 2024, 100% of HOH individuals
    will be offered a minimum of ten hours of unstructured out-of-cell time per week,
 13 and 70% a minimum of 7 hours of structured out-of-cell time per week with at least
 14 3.5 such hours consisting of group programming.
 15       *      By the end of the first quarter of 2025, 100% of HOH individuals will
    be offered a minimum of ten hours of unstructured out-of-cell time per week, and
 16 75% a minimum of 7.5 hours of structured out-of-cell time per week with at least
 17 3.75 such hours consisting of group programming.
 18        *     By the end of the second quarter of 2025, 100% of HOH individuals
    will be offered a minimum of ten hours of unstructured out-of-cell time per week,
 19 and 80% a minimum of 8 hours of structured out-of-cell time per week with at least
    4 such hours consisting of group programming.
 20
 21        *     By the end of the third quarter of 2025, 100% of HOH individuals will
    be offered a minimum of ten hours of unstructured out-of-cell time per week, and
 22 85% a minimum of 8.5 hours of structured out-of-cell time per week with at least
    4.25 such hours consisting of group programming.
 23
 24        *     By the end of the fourth quarter of 2025, 100% of HOH individuals
    will be offered a minimum of ten hours of unstructured out-of-cell time per week,
 25 and 90% a minimum of 9 hours of structured out-of-cell time per week with at least
    4.5 such hours consisting of group programming.
 26
           *     By the end of the first quarter of 2026, 100% of HOH individuals will
 27 be offered a minimum of ten hours of unstructured out-of-cell time per week, and
 28 95% a minimum of 9.5 of structured out-of-cell time per week with at least 4.75

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  1 such hours consisting of group programming.
  2        *     By the end of the second quarter of 2026, 100% of HOH individuals
  3 will be offered a minimum of ten hours of unstructured out-of-cell time per week,
    and 100% a minimum of 10 hours of structured out-of-cell per week with at least 5
  4 such hours consisting of group programming.
  5
            IT IS SO ORDERED.
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  8
      Dated:
  9                                              Honorable Dean D. Pregerson
 10                                              United States District Court Judge
 11
 12
      Respectfully Submitted,
 13
 14
 15 By:      /s/ Robert E. Dugdale
 16         Robert E. Dugdale
            Attorneys for Defendants
 17         County of Los Angeles and Los
 18         Angeles County Sheriff Robert
            Luna
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